                              NO.  07-12-0022-CV
	IN THE COURT OF APPEALS
	FOR THE SEVENTH DISTRICT OF TEXAS
	AT AMARILLO
	PANEL C
	MAY 14, 2012	____________________________
	GRADY R. MITCHELL,
									Appellant
	v.

           POPAT PATEL, INDIVIDUALLY, A/K/A PAUL PATEL, KAMU PATEL, 
      INDIVIDUALLY, SUNIL PATEL, INDIVIDUALLY, AND D/B/A SUPER 8 MOTEL, 
                               AND ANAND, INC.,
                              										Appellees
	___________________________
	
               FROM THE 237TH DISTRICT COURT OF LUBBOCK COUNTY;
	NO. 2009-547,914; HON. LES HATCH, PRESIDING
                          __________________________
                              Order of Dismissal
                          __________________________
Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.
Appellant, Grady R. Mitchell, filed a notice of appeal on January 20, 2012, but failed to pay the $175 filing fee required under Texas Rule of Appellate Procedure 5.  Instead, he filed an affidavit of indigency.  Popay Patel and the other appellees contested his request to proceed as an indigent, however.  The contest resulted in our abating the appeal and remanding the cause to the trial court to determine whether Mitchell was a pauper.  The trial court determined that he was not and issued an order on April 23, 2012, denying the request.  Given that decision, we informed Mitchell, by letter dated April 26, 2012, that the filing fee was outstanding and that the appeal would be dismissed unless it was paid within ten days.  Tex. R. App. P. 42.3(c); see Holt v. F.F. Enterprises, 990 S.W.2d 756 (Tex. App. - Amarillo 1998, pet. ref'd).  The fee has not paid to date.  Instead, the court received a document from Mitchell discussing matters unrelated to the issue of fees and indigence.  
Because appellant has failed to pay the requisite filing fees as directed by the court, we dismiss the appeal pursuant to Texas Rule of Appellate Procedure 42.3(c). 
                                                               		
Per Curiam





